                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    BOY SCOUTS OF AMERICA AND                                   Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,
                                                                Jointly Administered
                                  Debtors.
                                                                Re: D.I. 5485, 5488, 5488-1, 3265


  MSF CLAIMANTS’ SUPPLEMENTAL OBJECTION TO THE ADEQUACY OF
DEBTORS’ DISCLOSURE STATEMENT IN SUPPORT OF AMENDED CHAPTER 11
 PLAN OF REORGANIZATION AND OBJECTION TO THE DEBTORS’ REVISED
            PROPOSED SOLICITATION PROCEDURES ORDER

                                             I. INTRODUCTION

         1.      On May 6, 2021, the Claimants represented by Manly, Stewart & Finaldi (the MSF

“Claimants”) filed their Objection to the Adequacy of Debtors’ Disclosure Statement in Support

of Amended Chapter 11 Plan of Reorganization (Dkt. No. 3175).

         2.      On July 2, 2021, the Debtors filed the Fourth Amended Chapter 11 Plan of

Reorganization for Boy Scouts of America and Delaware BSA, LLC (Dkt. No. 5484) (“the Plan”),1

the Amended Disclosure Statement for the Fourth Amended Chapter 11 Plan of Reorganization

for Boy Scouts of America and Delaware BSA, LLC (“the Disclosure Statement”) (Dkt. No. 5485),

and the Notice of Filing of Revised Proposed Solicitation Procedures Order (“the Solicitation

Procedures”) (Dkt. No. 5488). On July 7, 2021, the Debtors filed the Third Amended Notice of

Hearing to Consider Approval of Disclosure Statement and Solicitation Procedures for the Fourth

Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC,

(Dkt. No. 5527) and noted that “[t]o the extent any party has already filed an objection to the




1
 Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Plan. Statutory references
are to the Bankruptcy Code unless otherwise noted.
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Disclosure Statement consistent with the procedures prescribed in the Prior Notice, it does not

need to refile such objection.” Dkt. No. 5527 at 1.

       3.      The Claimants re-assert and restate the facts, legal arguments, and objections made

in their prior objection, and object to the Disclosure Statement and the Solicitation Procedures for

the additional reasons stated below.

                              II. SUPPLEMENTAL OBJECTION

       4.      The Plan is not nearly ready to be put out for a vote. Many questions the Claimants

and others have raised in their prior Objections involve fundamental features of the Plan, including

the mechanisms for the treatment of Local Councils, Chartered Organizations, and insurance rights

and insured claims. Those questions remain unanswered, leaving the Claimants without adequate

information to make an informed judgment regarding the Plan. See § 1125(a)(1), (b).

       5.      The Claimants file this Supplemental Objection to point out additional critical flaws

that, if unremedied, will render it impossible to confirm the Plan because the solicitation and vote

tabulation will have been conducted in an unlawful manner. In particular, there are five crucial

points made here:

               (i) vote tabulation procedures must reflect the enormous differences between the

       values of claims to prevent the overwhelming number of very low value claims (including

       claims that are time-barred under applicable non-bankruptcy law for whom the Plan and

       the TDP are a windfall) from swamping the votes of abuse survivors presently holding

       large claims enforceable under state law who will bear the burden of that windfall;

               (ii) vote tabulation procedures and the TDP itself must distinguish among claimants

       based on which Local Council (if any) is alleged to be co-liable with the Debtors, to avoid

       those holding claims against financially weak and underinsured Local Councils from

       swamping the votes of abuse survivors with viable claims against financially strong or

       well-insured Local Councils, otherwise the burden of extending the Channeling Injunction
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to all Local Councils will fall entirely on the subset of claimants with valid claims against

more asset-rich Local Councils;

         (iii) the Disclosure Statement must incorporate adequate information about the

liquidation value of direct abuse claims against non-debtors released by the Plan so

individual claimants may assess the Debtors’ compliance with the best interests of the

creditors test;

         (iv) the identity of any third party non-debtor Chartered Organization designated a

Protected Party under the Plan, its potential liability to claimants, and the contribution

being made to obtain the protection of this Court’s Channeling Injunction, must be

disclosed and the votes of affected creditors separately tabulated, before the Channeling

Injunction is issued by the Court.        Alternatively, if a settlement with a Chartered

Organization is reached post-confirmation that provides for the Court’s Channeling

Injunction to be modified to designate the Chartered Organization as a Protected Party, the

same material information must be disclosed and then all affected claimants must be given

notice and an opportunity for a hearing to assess the fairness of such post-confirmation

settlement to the affected claimants before the modification becomes effective, otherwise

impacted creditors will have no right to vote on that relief, and this Court will not be asked

to (or be in a position to) find that the expansion of its Channeling Injunction to cover a

new Protected Party is fair and equitable or that an overwhelming number of impacted

creditors support the relief; and

         (v) the Disclosure Statement must incorporate adequate information about the

material risks arising from coverage positions asserted by liability insurers for the Debtors

and non-debtors that, if successful, in whole or in part, could substantially limit or eliminate

insurer contributions and significantly reduce amounts claimants could recover from the

Trust.
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       Unless these five issues are appropriately dealt with prior to solicitation, the defective

solicitation will result in a nonconfirmable Plan regardless of the extent of abuse survivor support

manifested through the defective voting procedures.

A.     Weighted Voting.

       6.      Section 1126 contains two voting thresholds that must be satisfied in order to

confirm a chapter 11 plan consensually—one half in number and two-thirds in amount to ensure

that the plan achieves creditor support both by reference to the number of claims, but also by

reference to the amount of liability represented by those claims. NORTON BANKRUPTCY LAW AND

PRACTICE 3D § 110:19 (William L. Norton III ed.) (“The requirement of Code § 1126 that a plan

be accepted by two-thirds in amount protects the holders of large claims, while the majority-in-

number requirement protects the holders of smaller claims.”). Such a mechanism prevents a plan

supported by many small claims from being confirmed without the support of a supermajority of

those holding the bulk of the economic stake in the outcome.

       7.      The Debtors estimate that of their 82,500 abuse survivor claims, Disc. Stmt. (Dkt.

No. 5485) at 72, only 14,000 identify an alleged abuser and are not presumptively time-barred to

varying degrees depending upon the state law applicable to the claim, whereas approximately

59,500 abuse survivor claims are presumptively time-barred. Id. at 74, 76 & Exhibit F. The TDP

adjusts the value of time-barred claims to reflect the strength of the Debtors’ (and their insurers’)

statute of limitations defense. But the Solicitation Procedures, at ¶ 25, without any citation to legal

authority or supporting argument, allow, for voting purposes, all direct abuse claims at $1

regardless of timeliness, and regardless of TDP value. In so doing, the Debtors ignore the mandate

of section 1126—to ensure that the Plan receives the support of claimants holding two-thirds of

the economic stake in the outcome.

       8.      Given the distribution of claims in this case, under the Solicitation Procedures it

would be theoretically possible for the Debtors to confirm a plan rejected by all 14,000 abuse
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claimants with enforceable state law claims against the Debtors, and also compel the release of

their co-liable Local Councils, settling Chartered Organizations, and settling insurers, with only

the votes of those holding claims that are time-barred or otherwise incapable of being enforced

outside of bankruptcy against any of those entities. Moreover, under these tabulation and voting

protocols, this Court would have no mechanism for assessing the degree of actual creditor support

for the Plan from those holding valid enforceable claims.2

        9.       The Solicitation Procedures must differentiate among claims to give practical effect

to the two-thirds in amount requirement of § 1126. At a minimum, the votes of those holding time

barred claims should be segregated and weighted in accordance with their TDP discount value to

ameliorate the distortions that will result from the proposed vote tabulation protocol.

B.      Required Vote Tabulation that Reflects Whether Claimants Have Claims Against
        Particular Local Councils or Chartered Organizations.

        10.      The Solicitation Procedures (1) allow creditors who do not have a claim against a

non-debtor Local Council or Chartered Organization to vote on whether the current and future

claims against the non-debtor should be released and enjoined, even though they will not be

impacted by that release, and (2) fail to provide any mechanism for this Court (or a creditor) to

determine whether such relief was supported by a sufficient number of the creditors actually

impacted by the release being granted.

        11.      The Court must eventually enter specific findings that any third-party release was

“overwhelmingly” supported by the creditors whose claims are impacted by the release. In re

Zenith Elecs. Corp., 241 B.R. 92, 110 (Bankr. D. Del. 1999); In re Lower Bucks Hosp., 471 B.R.

419, 456 (Bankr. E.D. Pa. 2012) (“A critical factor in assessing the confirmability of a plan that

includes a third-party release is whether the adversely affected class of creditors have manifested



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 Although there are presently no Chartered Organization settlements, if any such settlements are entered into, the same
voting and distributional concerns discussed herein with respect to Local Council settlements would likewise apply to
any Chartered Organizations that may seek to become Protected Parties under the Plan.
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their strong support for the plan through the plan voting process.”); In re Saxby's Coffee

Worldwide, LLC, 436 B.R. 331, 338 (Bankr. E.D. Pa. 2010) (a third-party release must be “widely

supported by the creditor constituency that includes the parties being restrained”); see also In re

Medford Crossings N., LLC, No. 07-25115, 2011 WL 182815, at *19 (Bankr. D.N.J. Jan. 20, 2011)

(declining to confirm a chapter 11 plan in part because “[t]he parties that would be restrained from

proceeding against the Third Party Releasees are receiving little or no distribution under the Plan

and would be precluded from asserting their claims against the Releasees.”). As Saxby’s Coffee

recognized: “[i]t is a very narrow legal realm in which a party’s legal rights may be restricted

because the needs of the many outweigh the rights of the few.” 436 B.R. at 338. The Solicitation

Procedures are not constructed in a way that allows the Court to make the required findings

regarding the support from affected creditors.

       12.     In re National Heritage Foundation, Inc., 478 B.R. 216, 230 (Bankr. E.D. Va.

2012), illustrates the importance of distinguishing between impacted and unimpacted creditors in

conferring third-party releases. In that case, the debtor argued a third-party release should be

approved because it was “overwhelmingly approved by the creditors.” Id. at 230. The Court

rejected the release because the votes that constituted the “overwhelming majority” were not cast

by creditors who were impacted by the release: “the class impacted by the Release Provisions (the

Donors) did not vote to accept the Plan; rather, the class that was to be paid in full under the Plan

(the Annuitants) voted to accept the Plan.” Id. at 230-31.

C.     Required Disclosure Regarding the Pooling of Debtor and Non-Debtor Local Council
       Assets and Liabilities.

       13.     The Plan bars claimants from pursuing their claims against the approximately 251

non-debtor Local Councils organized as independent legal entities under separate management and

control in exchange for an aggregate contribution of $600 million, pools those funds with the other

Trust assets, and then allocates those funds among abuse claimants in accordance with the TDP


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without regard to what recourse particular individual claimants have against which Local Councils.

Further, it contemplates a mechanism under which unrelated third parties (the Chartered

Organizations) who have independent tort liability to some but not all abuse claimants, may also

be granted a release that would be binding on all abuse claimants without regard to any disclosure,

voting, Court process or approval, or consent of those directly affected claimants who actually

suffered the tortious sexual assaults or abuse for which those third parties are responsible.

Presumably the proceeds of these settlements with Chartered Organizations will also be subject to

the general pooling of funds contemplated by the Plan and TDP and distributed without reference

to which claimants suffered the abuse at their hands.

        14.     Claimants’ state law rights against Local Councils and Chartered Organizations

vary enormously. Many claimants—a clear majority of those proposed to be solicited—have no

enforceable claim at all against these entities. These include claimants who have only a claim

against the Debtors themselves and the Debtors’ insurance, and claims that are time-barred under

applicable non-bankruptcy law. Other claimants have rights only against the estate and a particular

Local Council or Chartered Organization. Their Local Council or Chartered Organization may

have limited resources or responsibility under applicable law. But some claimants, including some

of the Claimants, may have strong claims against financially strong or well-insured Local Councils

or Chartered Organizations that have the ability to satisfy their claims in full or at least in a greater

measure than they may receive under the TDP. For claimants with no, or only weak claims, against

third parties, or with claims against financially weak or underinsured third parties, the Plan is a

boon, providing them the opportunity for some recovery where the tort system might leave them

with none. For claimants of the second kind, the Plan destroys their right to pursue solvent, well-

insured entities and compels them to share the contribution from the released entity with claimants

who had no such right. The Plan ignores the range of nonbankruptcy outcomes against the non-

debtors, and effects a substantive consolidation of the Debtor and the Local Councils, sharing the
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assets they are contributing pro rata among all claimants, without regard to the entity against

which the claimant actually has claims.

       15.     Because the claimants hold fundamentally different economic rights against the

various non-debtors, the pooling and third-party release features of the Plan violate § 1123(a)(4):

creditors with superior claims against more solvent non-debtors are being compelled to relinquish

those valuable claims, but are receiving the same treatment as those without such claims. In re

AOV Indus., Inc., 792 F.2d 1140 (D.C. Cir. 1986) is a leading case in point. There, a plan placed

all unsecured creditors in a single class sharing pro rata in a fund comprised of $800,000

contributed by the debtor, and $3,000,000 to be contributed by the creditors who were sponsoring

the plan. 792 F.2d at 1150. The debtor’s contribution would fund an approximate 4% dividend

for creditors; the creditor contribution an additional 13%. Id. Critically, the plan also provided

that creditors could receive the 13% creditor enhancement only by executing a release in favor of

the sponsoring creditors. Id. For the most part, creditors had only claims derivative of the debtors’

claims against the sponsoring creditors, but one creditor – Hawley Fuel Coal—objected to the plan

on the basis that, alone among creditors, Hawley asserted a direct guarantee claim against one of

the sponsoring creditors, a claim that was substantially more valuable than the derivative claims

held by the other unsecured creditors. Id. The D.C. Circuit agreed. Id. at 1151-52. Noting that

the “most conspicuous inequality that § 1123(a)(4) prohibits is payment of different percentage

settlements to co-class members,” the Court observed that the “other side of the coin of unequal

payment, however, has to be unequal consideration tendered for equal payment.” Id. at 1152. The

Court explained:

               It is disparate treatment when members of a common class are required
               to tender more valuable consideration – be it their claims against
               specific property of the debtor or some other cognizable chose in
               action—in exchange for the same percentage of recovery. Id.




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       16.      In recognizing these principles, the Third Circuit has observed that § 1123(a)(4)

“does not require precise equality, only approximate equality.” In re W.R. Grace & Co., 729 F.3d

311, 327 (3d Cir. 2013) (quoting In re Quigley Co., Inc., 377 B.R. 110, 116 (Bankr. S.D.N.Y.

2007)). “Certain procedural differences, such as a delay in receipt of distributions for some claims,

do not alone constitute unequal treatment.” In re W.R. Grace & Co., 729 F.3d at 327. But, here

the differences are not minor or procedural, nor is it unworkable to establish how claimants are

differentially affected; instead, the differences are substantive and may profoundly alter creditor

rights, conferring windfalls on some creditors and starkly prejudicing those with the strongest and

most collectible claims under nonbankruptcy law.

       17.       It may well be that claimants with rights against non-debtor Local Councils (and

Protected Parties) will agree to vote to release the Local Councils and share some or all of the

amounts they contribute with other claimants who do not have such rights as part of a general

pooling of assets and liabilities. Perhaps their vote to do so as a class could bind all class members

under some circumstances. But to force pooling of the proceeds of non-debtor settlements based

on lumping together a small number of claimants with rights against the wealthier, better-insured

settling Local Councils with vastly larger numbers of other claimants without such rights, and

giving each claimant one vote on the matter, violates not only the classification and voting

provisions in chapter 11, but also the equal treatment mandate of section 1123(a)(4).

       18.      Because claimants’ rights against the Local Councils fundamentally differ, the

Disclosure Statement must address at a minimum:

                a.     Local Council assets and liabilities (including separate insurance assets);

                b.     The claims asserted against each Local Council;

                 c.     Claimants’ estimated recovery against each Local Council (without regard to
             insurance shared with the Debtors); and

                d.     The amount contributed by each Local Council for its release.

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Only with that information can an individual claimant with claims against a financially strong or

well-insured Local Council make an informed judgment whether or not to accept the less favorable

treatment offered by the Plan, release the Local Councils, and agree to forego its claims under

nonbankruptcy law as against its responsible Local Council.

         19.      In addition, under the best interest of the creditors test, each claimant is entitled to

receive value under the Plan that is at least equal to its rights in liquidation. § 1129(a)(7).3 In

making that calculation the Court must consider the value of rights against non-debtors that are

released under the terms of the Plan. See, e.g., In re Washington Mutual, Inc., 442 B.R. 314, 359-

60 (Bankr. D. Del. 2011) (“In a case where claims are being released under the chapter 11 plan

but would be available for recovery in a chapter 7 case, the released claims must be considered as

part of the analysis in deciding whether creditors fare at least as well under the chapter 11 plan as

they would in a chapter 7 liquidation.”); In re Quigley Co., 437 B.R. 102, 144-46 (Bankr. S.D.N.Y.

2010) (plan violated best interest test because the debtor’s liquidation analysis did not reflect that

some creditors would retain their rights to sue the solvent non-debtor parent in a chapter 7

liquidation, rights released under the chapter 11 plan). In Quigley, as here, the plan also violated

§ 1123(a)(4)’s equal treatment requirement even though all class members received the same 7.5%

pro rata distribution, because only some of those creditors were “being compelled to give up their

valuable derivative claims—which [other creditors in that class had already surrendered]—to get

the same 7.5% distribution.” 437 B.R. at 148. The court concluded “[j]ust as the retention of the

derivative claim in a Quigley chapter 7 results in the violation of the ‘best interest’ test, the


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  The Debtors assert without authority that the best interests of the creditors test does not apply to them because the
Bankruptcy Code does not permit involuntary chapter 7 proceedings to be instituted against them. Disc. Stmt. (Dkt.
No. 5485) at 211. But there is no logical connection between the bar on involuntary proceedings for non-profits and
application of the best interests test as a mandatory chapter 11 confirmation requirement in this case. The best interests
test requires comparison of the plan value with the outcome of a hypothetical chapter 7 proceeding. The hypothetical
chapter 7 proceeding in this case would be a hypothetical voluntary chapter 7 case. The best interests standard is
routinely applied in chapter 11 cases involving non-profit entities. See, e.g., In re Roman Catholic Archbishop, 339
B.R. 215, 227 (Bankr. D. Or. 2006) (discussing application of best interest test to plan proposed by a non-profit entity);
In re Cajun Elec. Power Coop., 230 B.R. 715, 741 (Bankr. M.D. La. 1999) (same); In re General Teamsters,
Warehousemen & Helpers Union Local 890, 225 B.R. 719, 733-34 (Bankr. N.D. Cal. 1998) (same).
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compelled surrender of the derivative claim in a Quigley chapter 11 results in ‘unequal treatment’

under [ ]§ 1123(a)(4).” The same is true here.

          20.    The Disclosure Statement’s purported “liquidation analysis,” Dkt. 5485 at Ex. D,

is fatally flawed because it does not explain the factual or legal basis for the Debtors’ (or Local

Councils’) belief that certain assets of the Local Councils are restricted, or indicate how much each

Local Council will contribute from their (admittedly unrestricted) assets. Id. at 16 (asserting,

without elaboration, that restrictions regarding some assets have been “validated by BSA’s legal

analysis”). Cf. In re M.J.H. Leasing, Inc., 328 B.R. 363, 371 (Bankr. D. Mass. 2005) (finding a

failure of proof as to whether a third party’s contribution was substantial where no information

was provided regarding the third party’s assets or ability to pay); In re Mahoney Hawkes, LLP,

289 B.R. 285, 302 (Bankr. D. Mass. 2002) (“There is no information about whether the

contribution is significant in terms of what the partners are able to pay.”).

          21.    Even taking the liquidation analysis at face value, it shows many Local Councils

with significant unrestricted assets, including these with over $30 million in unrestricted net assets:

    Local Council              Unrestricted Net                  Claims*4                  Average Per
                               Assets                                                      Claim
    Sam Houston                $88,569,253                       752+                      $117,778.26
    Orange County              $38,005,058                       370+                      $102,716.37
    Cascade Pacific            $34,421,289                       487+                      $70,680.26
    National Capital Area      $33,820,605                       532+                      $63,572.57
    Silicon Valley &           $33,397,061                       291+                      $114,766.53
    Monterey Bay
    Chief Seattle              $33,363,479                       297+                      $112,334.95
    Greater Los Angeles        $31,726,269                       1,136+                    $27,928.05

          22.    These seven Local Councils, alone, have at least $293,303,014 in unrestricted net

assets. Again, according to the Debtors’ (flawed) liquidation analysis, the 13 wealthiest Local




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  The Disclosure Statement does not disclose the number of claims against each Local Council. These claim numbers
are from a summary posted by the Tort Claimants’ Committee. See
http://www.pszjlaw.com/assets/htmldocuments/BSA%20Summary%20of%20Sexual%20Abuse%20Claims%20003.pd
f (last checked August 9, 2021).
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Councils have unrestricted net assets that exceed $500 million. Yet the Debtors suggest all 251

Local Councils should receive releases of current and future claims for a total of $600 million.

D.      Required Disclosure Regarding Unrelated Non-Debtor Protected Parties.

        23.     The Disclosure Statement and Plan indicate that a post-confirmation trustee can

enter into settlements that will release and enjoin current and future claims against non-debtor

Chartered Organizations, and neither creditors who actually hold abuse claims against such

Chartered Organizations, nor this Court, will have any say in approving that settlement or the

modification of the Court’s Channeling Injunction. Impacted creditors have no right to vote on

that relief, and this Court will not be asked to (or be in a position to) find that the expansion of its

Channeling Injunction to cover a new Protected Party is fair and equitable or that an overwhelming

number of impacted creditors support the relief. These procedures are wholly inadequate to protect

the rights of the parties being enjoined. Disclosure must be made as to the identity of any third

party non-debtor Chartered Organization that becomes a Protected Party under the Plan and the

contribution being made to obtain the protection of this Court’s Channeling Injunction before the

votes are cast and the votes of impacted creditors separately tallied so this Court can determine

whether there is overwhelming support from impacted creditors, or, in the alternative, if a

settlement with a Chartered Organization is reached post-confirmation that provides for the

modification of the Court’s Channeling Injunction to include that Chartered Organization as a

Protected Party, after notice and an opportunity for a hearing to assess the fairness of such post-

confirmation settlement to all affected claimants, at which point the Court can determine whether

the necessary overwhelming majority of affected claimants support the proposed expansion of the

Channeling Injunction.

E.      Required Disclosure Regarding Coverage Positions Asserted by Liability Insurers.

        24.     The Claimants further object to the adequacy of the Disclosure Statement because

it fails to explain the material risks arising from hotly disputed coverage positions asserted by the

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Debtors’ and non-debtor Protected Parties’ carriers (Dkt. No. 5684) that, if successful in whole or

in part, could substantially limit or eliminate insurer contributions and significantly reduce

amounts claimants could recover from the Trust. Although the Claimants believe these self-

serving “coverage defenses” are incorrect in the context of this case — legally and factually —

court decisions throughout the country have not been uniform in addressing them. Accordingly,

abuse survivors must understand the nature of these risks and that that the insurers are well-funded,

experienced in contesting abuse claims in the court system, and fully prepared to engage in

protracted litigation over their policy obligations. A number of “coverage defenses,” if successful,

could potentially eliminate insurer recoveries altogether, and others could reduce amounts

available to Claimants. Moreover, the agreement of the Local Councils to resolve their liability

without the applicable insurers’ involvement and the transfer of the Local Council’s insurance

rights to the Trust trigger additional coverage defenses that could further diminish the recovery

from the insurers from what a claimant could achieve today 5 No abuse survivor should read the

Disclosure Statement and believe they will receive up to 100% of their claim awarded through the

TDP and matrix values without generally understanding these risks.

        25.      A number of “coverage defenses” are aimed at eliminating coverage entirely. For

example, some insurers contend that pursuing a bankruptcy to address the abuse liabilities and

negotiate a proposed settlement, without first obtaining insurer consent, violates the cooperation

obligations of the policyholders and results in the forfeiture of coverage. Instead of viewing the

bankruptcy process as a legitimate means of addressing decades of sexual abuse nationwide, the

insurers would transform the bankruptcy into a coverage forfeiture event. Although Claimants

reject this contention, it has been asserted and should be identified and addressed in the Disclosure



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  With respect to any future settlements with Chartered Organizations, the same concerns discussed herein would apply
with regard to shared insurance between the Debtors and the settling Chartered Organizations in light of the fact that,
starting in approximately 1978, the Chartered Organizations have generally been insured under the same policies as are
the Debtors.
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Statement as a material risk that the insurers are seeking to shift onto abuse survivors. However,

the position of the insurers in this regard has been asserted and should be identified and addressed

in the Disclosure Statement. Another argument raised by insurers in an effort to eviscerate billions

of dollars of historic liability insurance challenges the assignment of insurance policies to the Trust

— a cornerstone of the Plan — as violative of the insurance contracts. The insurers appear to

accept that their “anti-assignment” defense is preempted by federal bankruptcy law as to the

Debtors, having lost the issue in multiple bankruptcy courts. See, e.g., In re Combustion

Engineering, Inc., 391 F.3d 190, 218 (3d Cir. 2004) (bankruptcy law preempts state law and

overrides anti-assignment provisions in debtors’ insurance policies). However, the insurers

continue to challenge assignments of non-debtor policies, an area that remains unsettled. See id.

at 219 (federal law preemption ruling not applicable to non-debtor participants in bankruptcy);

Fluor Corp. v. Superior Court, 61 Cal.4th 1175, 1219 (2015) (overturning prior state law cases

and permitting assignment of insurance after damage/injury has occurred). If successful in their

anti-assignment arguments, the insurers could deprive the Trust of billions of dollars of insurance

assets otherwise available to the nondebtors to cover their liabilities to abuse victims. As currently

drafted, the Disclosure Statement does not provide adequate information to allow a reasonable

Claimant to appreciate the material risks of the insurers’ positions on these key issues.

         26.      Other “coverage defenses” may not eliminate coverage entirely, but seek to reduce

available coverage substantially. The Debtors proclaim that the TDP may result in creditors

receiving up to 100% of the value assigned to their claim under the TDP, see Disc. Stmt. (Dkt. No.

5485) at 214, but they fail to disclose or discuss the insurers’ argument that those values are not

binding on the insurers and that their duty to indemnify their insureds may be capped at the

amounts their insureds paid into the Trust. Here, again, the law remains unsettled and conflicting.6

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  Compare Fuller–Austin Insulation Co. v. Highlands Ins. Co., 135 Cal. App. 4th 958, 999-1000 (Cal. Ct. App. 2006)
(finding insurer is only required to pay trust payment percentage, not full allowed value); Flintkote Co. v. Aviva PLC,
177 F. Supp. 3d 1165, 1178–80 (N.D. Cal. 2016) (discussing Fuller-Austin at length and adopting its holding as
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If the trust distribution awards are not binding, and if the exposure of the insurers is capped at the

contribution of their insureds, an abuse survivor whose claim is valued at $2.7 million may receive

a small fraction of that amount. The Disclosure Statement must disclose these material risks so

abuse survivors can decide whether to vote in favor of a plan that leaves these issues unresolved.

        27.      The Claimants further object because the Disclosure Statement fails to explain how

creditors will be affected if the insurers prevail on these contentions. The Disclosure Statement

goes to great lengths to make abuse survivors believe there is a chance they will actually receive

100% of the value assigned by the TDP, see Disc. Stmt. (Dkt. No. 5485) at 214, but it fails to

disclose how Claimants will fare if the insurers prevail on one or more of their “coverage

defenses.” The Disclosure Statement indicates there are approximately 82,500 non-duplicate

claims by survivors of child sexual abuse. As it stands, the Plan would provide each Claimant an

average of about $10,000 (or significantly less after administrative expenses), from the funds

provided by the Debtors and the Local Councils, far less than the TDP value of these claims. The

Debtors rely on the availability of assigned insurance coverages to make up the difference, which

underscores why Claimants must have adequate information to evaluate the risks of the Plan,

including any risks as to denial or restriction of insurance coverage.

                                                 III. PRAYER

        28.      The Court should order the Debtors to modify the Disclosure Statement, the Plan,

and the Solicitation Procedures so that (1) there is proper segregation and weighting of the votes

of the holders of timely direct abuse claims to enable this Court to make the requisite findings to

enter the discharge, third-party releases, and Channeling Injunction that is sought; (2) proper




binding law in California on the interpretation of insurance indemnification contracts), with UNR Indus., Inc. v.
Continental Casualty Co., 942 F.2d 1101, 1105 (7th Cir. 1991) (concluding under Illinois law, insurer is obligated to
pay full allowed value, not just the trust payment percentage, in order to avoid insurer benefitting from UNR’s
bankruptcy); National Union Fire Ins. Co. of Pittsburgh v. Porter Hayden Co., 2012 U.S. Dist. LEXIS 29568 at *11-16
D. Md. Mar. 6, 2012 (rejecting Fuller-Austin and concluding under Maryland law, insurers are required to pay full
allowed claim value).
                                                         15
disclosure is made of the assets and liabilities of Local Councils (and any Protected Party) such

that direct abuse claimants can meaningfully assess whether the Plan meets the best interests of

creditors test; (3) disclosure and opportunity to object to the fairness of any proposed settlement

for a Chartered Organization be afforded to all affected claimants before such a Chartered

Organization can be deemed a Protected Party under this Court’s Channeling Injunction, and (4)

disclosure regarding the coverage positions asserted by liability insurers that, if successful in whole

or in part, could substantially limit or eliminate insurer contributions and significantly reduce

amounts Claimants could recover.

                                                         Respectfully submitted,

Dated: August 11, 2021


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                                        APPENDIX A

        The foregoing Supplemental Objection to the Adequacy of the Debtors’ Disclosure
Statement in Support of Amended Chapter 11 Plan of Reorganization and Objection to the
Debtors’ Revised Proposed Solicitation Procedures Order was filed by the following creditors who
each filed a Sexual Abuse Survivor Proof of Claim and are represented by MSF Claimants. The
numbers below are the claim numbers for each creditor’s Sexual Abuse Survivor Proof of Claim.

    SA-38293            SA-53460           SA-44641

    SA-46583            SA-63879           SA-56181

    SA-42929            SA-73245

    SA-29483            SA-34317

    SA-41605            SA-46618

    SA-53424            SA-40167

    SA-65578            SA-53428

    SA-82798            SA-53455

    SA-65871            SA-51924

    SA-82831            SA-52909

    SA-29498            SA-67245

    SA-65879            SA-11036

    SA-82847            SA-42326

    SA-29496            SA-53438

    SA-55749            SA-68689

    SA-82807            SA-71844

    SA-42390            SA-51638

    SA-42405            SA-67226




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